             Case 1:21-cr-00314-TFH Document 48 Filed 11/01/22 Page 1 of 4




                               UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                            §
                                                    §
v.                                                  §        CRIMINAL NO. 1:21-CR-00314-001
                                                    §
SHAWN BRADLEY WITZEMANN                             §


                        DEFENDANT’S SENTENCING MEMORANDUM


TO THE HONORABLE UNITED STATES DISTRICT JUDGE:

           COMES NOW Defendant, through Counsel, and submits this memorandum for This

Honorable Court’s consideration during sentencing. It is the position of the Defense that the proper

sentence for Mr. Witzemann is probation.

                                                    I.

                              FACTUAL BASIS OF THE OFFENSES

           The Presidential election of November, 2020, was one of the most-contentious elections in

recent American history. The electorate was divided in a manner rarely seen in our lifetime, and

a large number of voters who favored the re-election of President Donald Trump believed the

outcome of the election was invalid and the product of fraudulent actions by many persons and

officials. The President, himself, claimed the election had been stolen and called upon members

of both houses of Congress to reject the results and oppose validation of the Electoral College

results.

           In advance of the date of the official validation of the election, President Trump announced

that he would address concerned voters in a speech the morning of January 6, 2021. This event

was attended by thousands of persons, most of whom agreed with the President’s allegation that

the election had been stolen by fraud and deceit by the other party.
           Case 1:21-cr-00314-TFH Document 48 Filed 11/01/22 Page 2 of 4




         Mr.Witzemann, an independent journalist and owner of Tribune Media International, LLC,

who operated a political blog and podcast, and traveled from his home in New Mexico to

Washington, DC to cover the President’s speech and any associated protests. Unable to adequately

cover the President’s speech, Mr. Witzemann left the event and walked back towards the Capitol

to cover protests scheduled to occur later that day.

         Upon learning that a large group who had attended the President’s speech had marched to

the U.S. Capitol to protest the election, Mr. Witzemann walked there, carrying with him an iPhone

for the purpose of capturing the protests.

         As was shown in the various videos and other camera footage in the Government’s

sentencing memorandum, Mr. Witzemann arrived at the Capitol grounds well after a large crowd

had gathered and he witnessed the goings-on.

         Mr. Witzemann was live-streaming what he saw and offered his own narration of events

for his audience.

         Mr. Witzemann described in his narration the protestors walking up the steps and climbing

walls to get to the entrances of the building. He followed them inside to continue videoing the

event.

         Mr. Witzemann entered the Capitol through an open doorway, then followed the crowd

through some of the building, including the Crypt area. During this time, Mr. Witzemann said to

a Capitol policeman, “Brother, stand with us.” He did not say or do anything to encourage or incite

violence or destruction of property, and the only words he said inside or outside the building, aside

from the comment to the police officer, were his narration for the video.

         Mr. Witzemann thereafter exited the building, without personally causing any disturbance

or damage to public property. He did not enter closed chambers or offices, and did not take




                                                 2
          Case 1:21-cr-00314-TFH Document 48 Filed 11/01/22 Page 3 of 4




anything from the Capitol premises.

       Also, Mr. Witzemann complied with every request or order given by police officers inside

and around the Capitol building. For example, after he had ascended the stairs to the top of the

scaffolding of the Inauguration stage to get a better view, Mr. Witzemann was directed by a police

officer not to climb the scaffold, and he immediately descended from the scaffold.

       Also, as can be seen in the photos and videos inside the Capitol, Mr. Witzemann stayed

within the velvet ropes while viewing statues and other control features while walking through the

building. He never assaulted or threatened an officer or anyone else, but was polite to all.

       Contrary to the assertions of the Government that Mr. Witzemann should be punished for

comments he made before and after the events of January 6, 2021, we would suggest that all such

comments and observations made by Mr. Witzemann are protected speech under the First

Amendment of our Constitution, and none, either alone or collectively, were such as to incite

violence or destruction of property. He merely stated his opinions and beliefs.

                                                     II.

                              ADDITIONAL PERSONAL INFORMATION

       Mr. Witzemann offers additional personal information that we believe relevant to assessing

punishment in this case.

       This information is contained within his 18-page, written statement to Your Honor, and

will not be recited herein.

       Also attached are letters from individuals who have known Mr. Witzemann through their

interaction with him over the years, attesting to his good character.

       The Defense suggests that, considering all facts of Mr. Witzemann’s actions in this case,

his personal circumstances and his good character, a sentence to probation would suffice to punish




                                                 3
         Case 1:21-cr-00314-TFH Document 48 Filed 11/01/22 Page 4 of 4




him, in accordance with the factors enumerated in Title 18, U.S. Code, Section 3553(a).

                                              III.

                                       CONCLUSION

       WHEREFORE, premises considered, The Defendant very respectfully requests that This

Honorable Court sentence him to a term of probation, as recommended by the Probation Officer

who authored the PSI.


                                                     Very respectfully,

                                                     /S/ Guy L. Womack
                                                     Guy L. Womack
                                                     Counsel for Defendant
                                                     Texas Bar No. 00788928
                                                     609 Heights Blvd.
                                                     Houston, Texas 77007
                                                     Tel: (713) 224-8815
                                                     Fax: (713) 224-8812
                                                     Guy.Womack@USA.net




                                 CERTIFICATE OF SERVICE

        A copy of the foregoing was delivered via CM/ECF to the U. S. Attorney’s Office by
email this 1st day of November, 2022.



                                                     /S/ Guy L. Womack
                                                     Guy L. Womack




                                               4
